Estate of Harold Loveland, Hattie F. Loveland, Executrix, Petitioner, v. Commissioner of Internal Revenue, RespondentLoveland v. CommissionerDocket No. 16924United States Tax Court13 T.C. 5; 1949 U.S. Tax Ct. LEXIS 134; July 6, 1949, Promulgated *134 Decision will be entered for the respondent.  Estate Tax -- Jointly Held Property -- Money Consideration -- Section 811 (e) (1).  -- A wife did not acquire her interest in jointly held property from her husband for a full and adequate consideration in money or money's worth within the meaning of section 811 (e) (1), where she nursed her husband for 48 years and he had agreed she should have $ 12.50 per week for her services to him.  Edward W. Raye, Esq., for the petitioner.Leo C. Duersten, Esq., for the respondent.  Murdock, Judge.  MURDOCK *5  The Commissioner determined a deficiency in estate tax in the amount of $ 6,617.66.  The only question for decision is whether the interest which the decedent's spouse had in certain jointly held property had been acquired*135  from the decedent for a full and adequate consideration in money or money's worth within the meaning of section 811 (e) (1) of the Internal Revenue Code.FINDINGS OF FACT.The decedent died on April 25, 1945, while residing in Massachusetts.  He was then 80 years of age.  The estate tax return was filed with the collector of internal revenue for the district of Massachusetts.The decedent and his wife Hattie were married in 1893.  They had one child, a son, born in 1895.  He died in 1931.The decedent was engaged in the painting business at the time he was married. He had high blood pressure and was extremely nervous and difficult to get along with all of his life.  He had been receiving frequent massages in an effort to quiet his nerves.  Physicians advised him to give up his business and to give up smoking in order to improve his health.  He sold his business and his residence in 1897 and moved to South Harwich, Cape Cod.  He never engaged in any business thereafter, except to invest the $ 26,000 realized from the above sales, and the accretions thereto, which was his entire estate.  He did a little gardening on the Cape.He realized that he and his family would have to live frugally. *136  He felt he needed but could not afford to hire a nurse, so he told his wife that he would pay her $ 12.50 a week if she would "take care of him to the end" and she agreed.  The agreement was never evidenced by a writing.The decedent and his family moved to Somerville in 1929 and continued to live there until the decedent's death.*6  The physician who saw the decedent on an average of about 4 or 5 times a year during the last 11 years of his life diagnosed his extremely nervous and irritable condition as due to high blood pressure. His physical health was not good during that period and he was in bed on several occasions, due to a sacroiliac condition.  He was generally able to be up and about the house.  He was placed in an institution shortly before his death, suffering from arteriosclerotic dementia.The decedent demanded and received a great deal of attention from his wife.  She massaged, bathed, and shaved him daily, did his errands, and took care of him whenever he needed care, either during the day or at night.  She had a nurse to assist her only on infrequent occasions and then for short periods, the longest period being seven weeks, when she was injured.  She also *137  did the housekeeping with the aid of one person employed by the day when needed.The decedent not only lived off the income from his investments, but increased his capital of $ 26,000 in 1897 to, on one occasion, more than $ 120,000.  He became disgusted with the securities market in 1929 and decided to liquidate his holdings and place his funds in savings accounts under his name and his wife's, jointly, as follows:1929$ 5,000.001932410.0019333,557.5019344,795.0019357,675.0019367,085.0019378,700.001938530.0019398,400.0019402,000.00Total$ 48,152.50He had never paid his wife anything on account of the $ 12.50 per week he had promised her and he said that one-half of the joint accounts would be hers in accordance with that promise.The decedent withdrew $ 28,000 from the joint accounts in 1940 and invested it in savings and loan shares in their names, jointly, and about $ 1,000 which he invested in real estate as tenants by the entirety.The decedent executed his will in 1931.  He told his wife in 1929 that he was going to make his will and that having their funds in joint accounts would facilitate handling them in case one should die.The*138  Commissioner, in determining the deficiency, made the following adjustments in relation to jointly held property:DescriptionReturnedDetermined50 Prospect St., Melrose, Mass$ 3,250.00$ 6,500.00Co-Operative Bank Shares3,500.007,000.00Federal Savings and Loan Shares10,500.0021,000.00Savings Bank Deposits9,704.0519,408.09The full values of the jointly owned property are included in the gross estate since the decedent contributed the entire purchase price and the surviving joint owner did not contribute anything which was acquired from the decedent for a full and adequate consideration in money or money's worth, within the intendment of Section 811 (e) of the I. R. Code and Section 81.22 of Regulations 105.*7  OPINION.The Commissioner contends that an agreement on the part of a wife to take care of her husband would be null and void under the laws of Massachusetts, and for this and other reasons the petitioner has failed to show that the wife acquired her interest in the jointly held property from the husband for a full and adequate consideration in money or money's worth within the meaning of section 811 (e) (1) of the Internal Revenue Code.  *139  The cases cited by the Commissioner show, and the petitioner concedes, that a contract of that kind would have been null and void under the laws of Massachusetts.  However, there are cases in which a contract, void under state law, is, nevertheless, recognized for Federal tax purposes.  Those cases can be distinguished from the present case because they did not deal with services which might ordinarily be performed as a marital duty.The petitioner argues that the wife was under no legal obligation to render such services as she actually rendered to her husband, and that the performance of those services by her constituted an adequate and full consideration in money or money's worth for her acquisition of an equal interest with her husband in the property held jointly at the time of his death.  The contract was never reduced to writing and the record does not show in detail just what understanding the parties had.  There is some evidence to indicate that the decedent never intended to pay his wife anything during his lifetime, but merely intended to leave her something under his will to compensate her for the care which she had given him.  Actually he did not pay her anything during*140  the first 32 years, and then he merely placed some money in joint bank accounts.  There is nothing to indicate that the wife ever regarded those deposits as receipt of income taxable to her.  However, the petitioner must fail in this case, even though the record shows that there was a definite agreement under which the decedent was to pay his wife $ 12.50 a week during her life and the deposits in the joint accounts were fulfillments of his promise.Services performed by a wife under a marriage contract do not represent consideration in money or money's worth within the meaning of section 811 (e) (1).  Cf.  Commissioner v. Wemyss, 324 U.S. 303"&gt;324 U.S. 303; Merrill v. Fahs, 324 U.S. 308"&gt;324 U.S. 308; Estate of Hugo Goldsmith, 36 B. T. A. 1201, involving filial duties. The decedent and his wife entered into a marriage contract in 1893 and it continued in effect until his death.  Many wives, feeling bound by such a contract, have taken full care of invalid husbands without demanding, expecting, or receiving any compensation in money.  Some such action on their part is frequently necessary where family funds are*141  limited.  The decedent had only $ 26,000 of assets in 1897.  He, his wife, and their child had no other *8  source of income.  He and his wife knew that he could not afford to pay a nurse for as much time as he felt he would have to be attended by a nurse. The wife had either to take care of him herself, let him do without a nurse, or exhaust his limited supply of money and then put him in a public institution.  She chose to take care of him herself and he said he would give her $ 12.50 a week if she took care of him "to the end." The petitioner has failed to show where the wife's duties under her marriage contract ended and the money value, if any, of services rendered by her beyond those required by the marriage contract. No cases directly in point have been cited by either party.  The case of Estate of Sarah A. Bergan, 1 T. C. 543, is distinguishable because it involved sisters who owed no duty to each other, and, for somewhat similar reasons, the case of Nashville Trust Co. v. Commissioner, 136 Fed. (2d) 148, is distinguishable. The wife's interest in the jointly held property was acquired directly from the*142  decedent, but it was not acquired for a full and adequate consideration in money or money's worth.Decision will be entered for the respondent.  